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AO 442 (Rev. 11/11)     Arrest Warrant




                                              UNITED STATES DISTRICT COURT
                                                                          for the

                                                                  District of Columbia


                      United States of America                                       Case: 1:21-mj-00469
                                     v.                                     )        Assigned To : Meriweather, Robin M.
                                                                            )        Assign. Date: 6/10/2021
                      Brian Christopher        Mock                                  Description: Complaint wI Arrest Warrant
                                                                            )
                                                                            )
                                                                            )
                                                                            )
                                 Defendant


                                                             ARREST WARRANT

To:       Any authorized law enforcement officer


          YOU ARE COMMANDED                       to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                 Brian Christopher Mock
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment             o    Superseding Indictment           o   Information       o   Superseding Information           N Complaint
o     Probation Violation Petition               o    Supervised Release Violation Petition        o Violation    Notice       0 Order of the Court

This offense is briefly described as follows:

18 U.S.c.    § III (a)(I) - Assaulting, Resisting, or Impeding Certain Officers
18 U.S.C.    §§ I 752(a)(1), (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
Disorderly    and Disruptive Conduct in a Restricted Building or Grounds
18 U.s.c.    § 231 (a)(3) - Obstruction of Law Enforcement During Civil Disorder
40 U.S.c.    § 5104(e)(2)(F) - Acts of Physical Violence in any of the Capitol Buildings or Grounds
                                                                                                                   2021.06.10

Date:           06/10/2021
                                                                                                    Issuing officer's signature


City and state:                          Washington, D.C.                            Robin M. Meriweather,         U.S. Magistrate     Judge
                                                                                                      Printed name and title


                                                                         Return

           This warrant was received on (date)
at (city and state)  tV\.        \oM
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Date:     c... (lL ld9~
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                                                                                                   Printed name and title t
